
STUART, J.
delivered the opinion of the Court.
The application of David Jones to be discharged from the custody of the Serjeant, has been considered by the Court. The petitioner was taken on two Escape Warrants issued by James Currin, on the 22d February, 1825. It is objected, that it does not appear on .the face of the Warrants, that Currin was a Magistrate. It has also been urged, that the length of time which has intervened, since the date of the Warrants, has raised a presumption that the debt has been discharged.
On the other hand, it has been proved, that Currin was in fact an acting Justice at the date of the Warrants, and that for some time past there has been no Jail in that County.
The Court is of opinion, that although Escape Warrants ought to be issued by Justices of the Peace, and, that regularly, it ought to appear on the face of the Warrants that they are such, yet in this instance, that defect has been supplied by proof of the fact. They are also of opinion, that the want of a Jail repels any presumption arising from the lapse of time. The petitioner is therefore remanded to the custody of the Serjeant of the City.
Note. — The petitioner afterwards applied to the Court of Appeals for a Writ of Error to this Judgment, which that Court refused. — Note in Original Edition.
